UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

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JEFFREY MENAKER, : Case No. 2:17-cv-5562 (DRH-AYS)

Plaintiff,

. STIPULATION AND ORDER
-against-

HOFSTRA UNIVERSITY,

Defendant. :

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IT IS HEREBY STIPULATED AND AGREED by and between the
undersigned that |

1. The case shall be referred to the Court-Annexed Mediation
procedure, pursuant to Local Civil Rule 83.8. The parties have agreed to utilize Abigail
Pessen, one of the mediators from the Court’s list of approved mediators, to mediate this
matter and Ms. Pessen has agreed to serve in that capacity. Accordingly, the Clerk’s
Office is requested to assign the mediation of this matter to Ms. Pessen.

2. All discovery and all proceedings in the case shall be suspended
until the expiration of either sixty days from the date of execution of this stipulation or a
party informing the Court that the mediation has failed.

3. This stipulation may be executed in counterparts, each of which shall
be deemed an original but all of which together shall be one and the same instrument, and

with faxed or scanned electronic signatures being deemed as valid as originals.
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September 19, 2019
New York, New York.

ORRICK, HERRINGTON & SUTCLIFFE LLP

By: Qe a EX

~ Jill Rosenberg

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SO ORDERED:

 

U.S.M.I.

4848-9873-3165, v. 4

OFFIT KURMAN, P.A.

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